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The following constitutes the ruling of the court and has the force and effect therein described.



Signed November 7, 2019
                                            United States Bankruptcy Judge
______________________________________________________________________
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                                               United States Bankruptcy Court
                                                Northern District of Texas
In re:                                                                                                     Case No. 19-20347-rlj
Krisu Hospitality, LLC                                                                                     Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0539-2                  User: khollan                      Page 1 of 1                          Date Rcvd: Nov 07, 2019
                                      Form ID: pdf012                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 09, 2019.
db             +Krisu Hospitality, LLC,   500 W. Harvester,   Pampa, TX 79065-4346
cr              Centennial Bank,   Owen, Voss, Owen & Melton P.C.,   700 West 7th,   P.O. Box 328,
                 Plainview, TX 79073-0328

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 09, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 7, 2019 at the address(es) listed below:
              C. Jared Knight   on behalf of Creditor   Centennial Bank jknight@bmwb-law.com,
               rluginbyhl@bmwb-law.com;bedwards@bmwb-law.com;kconklin@bmwb-law.com
              Patrick Alan Swindell   on behalf of Debtor   Krisu Hospitality, LLC
               pat@swindellandassociates.com,
               sshields@swindellandassociates.com;pat@swindellandassociates.com;swindellign@gmail.com;samantha@s
               windellandassociates.com;chelsea@swindellandassociates.com
              United States Trustee   ustpregion06.da.ecf@usdoj.gov
                                                                                            TOTAL: 3
